Case 2:91-cr-20024-.]DB Document 75 Filed 08/09/05 Page 1 of 3 Page|D 1

 
 

 

iii“e?.“.»;/i§)
UNlTEI) sTATEs DISTRICT CoURT F"£D 3"' ~¢ 1.~.. D.C.
for 05 AUG '9 AH 53 58
WESTERN DISTRICT oF TENNESSEE W?M id SGULD
WESTERN nlvlsloN CLE\PiiWi|Q rp PJTJSEURT
U.S.A. vs. Cecil Rgl_ngond Ferguson Docket No. 2:91CR20024-02

 

Petition on Prohation and Supervised Release

COMES NOW Michelle R. Sims PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Cecil Raymond Fergu_son Who was placed on supervision by the Honorable
Jerome Turner sitting in the Court at Memphis, TN, on the _L day of October 1991 , who lixed the period of
supervision at six 161 years*, and imposed the general terms and conditions theretofore adopted by the Court and
also imposed Special Conditions and terms as follows:

 

 

* Supervised Release began: January 21 , 2003
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Cecil Raymond Ferguson submitted to a drug screen on July 28, 2005; it returned with a positive result for Cocaine
use. The defendant has also admitted to the use of cocaine and has signed a Waiver of Hearing to Modit`y the
Conditions of Supervision to include drug testing/treatment if ordered by the Court.

PRAYING THAT THE COURT WILL ORI)ER that the defendant's conditions of supervision be MODIF]ED
to include drug testing and treatment

 

ORDER OF COUR'I` <p Respectfully, 4
§onsidered and orde,red this g . day f m
ZOQ}_ and ordered filed Michelle Sirn§`_/ w

 

 
  
  

and art of the records in the above United States Probation Of lcer
case.

Place: Memphis1 TN

 

Unit@tes District Judge \
Date: Auaust 3. 2005

, 1 1, : ii . C

with mile 55 and/for sam Fach on 3 /(]§

FROB 49 Case 2:91-cr-20024-.]DB Document 75 Filed 08/09/05 Page 2 of 3 Page|D 2
(31'89)

United States District Court

wEsTERN Distl.ict TENNESSEE

 

 

Waiver of Hearing to Modify Conditions
of Probation/Supervised Release or Extend Term of Supervision

I have been advised and understand that I am entitled by law to a hearing and assistance of counsel before any
unfavorable change may be made in my Conditions of Probation and Supervised Release or my period of supervision
being extended By “assistance of counsel, ” I understand that I have the right to be represented at the hearing by
counsel of my own choosing if I am able to retain counse]. I also understand that I have the right to request the court to
appoint counsel to represent me at such a hearing at no cost to myself if l am not able to retain counsel of my own
choosing.

I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. l also agree to the following
modification of my Conditions of Probatiou and Supervised Release or to the proposed extension of my term of
supervision:

Ynu shall participate in a program which may include inpatient
therapy for treatment of drug/alcohol dependency. You shall
also abstain from the use of drugs/alcohol during and after the
course of treatment.

Witness: W w Signed: M§(/ `\;:¢M,W¢-_

 

 

 

k U.S. Prbinon‘dfficer ' Probationer or Supervisedm:asee
Hichelle R. Sims Cecil R. Ferguson
tjqu w f- Q; '2.,000"
U

Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 75 in
case 2:9]-CR-20024 was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed

 

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

